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                        United States Bankruptcy Court
                         Eastern District of Louisiana


In re:                                                          Case No. 18-13335
                                                                       Chapter 13
EUGENE BARON SCHWING, JR.                                               Section A
239 DILTON ST
NEW ORLEANS LA 70123


                                        ORDER


Considering the Trustee's Ex Parte Motion to Discontinue
Withholding Earnings and Payment to Trustee (P-70),


THIRD DIST FIRE DEPT
10415 JEFFERSON HWY
NEW ORLEANS LA 70123



IT IS ORDERED that the Motion is granted and the deductions by the
above referenced employer from payments due to the debtor,EUGENE
BARON SCHWING, JR., be discontinued and that no such deductions be
made except upon further order of this Court.

IT IS FURTHER ORDERED that movant shall serve this order on the
required parties who will not receive notice through the ECF system
pursuant to the FRBP and the LBRs and file a certificate of
service to that effect within three (3) days.

      New Orleans, Louisiana, August 6, 2021.




                                              MEREDITH S GRABILL
                                              UNITED STATES BANKRUPTCY JUDGE
